              Case 8:22-cr-00209-PJM Document 24 Filed 07/28/22 Page 1 of 2
                                                          U.S. Department of Justice
                                                          United States Attorney
                                                          District of Maryland

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                                                   July 28, 2022


Honorable Peter J. Messitte
United States District Judge
United States Courthouse
6500 Cherrywood Lane
Greenbelt, MD 20770


                                Re: United States v. Roske
                                    Criminal No. PJM-22-209

Dear Judge Messitte:

          I am writing to provide a brief status report regarding this matter.

       On June 22, 2022, the defendant made his initial appearance and arraignment on the
pending Indictment in which he is charged with attempted assassination of a United States
Supreme Court Justice in violation of 18 U.S.C. § 351(c). The defendant has been detained by
agreement since his arrest on June 8, 2022.

         On July 6, 2022, this Court granted the defendant’s unopposed motion to continue the
trial date and to extend the deadline for filing pretrial motions to September 6, 2022. On July 12,
2022, the defense filed a Motion to Suppress Statements and Motion for Leave to File Additional
Motions. On July 19, 2022, your Honor entered a Speedy Trial Order tolling the time between
the filing of those motions and the final resolution or hearing on the motions.

        The government has produced extensive discovery to date. The defense has requested,
and the government has agreed, that the government not respond at this time to the pending
Motion to Suppress Statements in order to allow the defense sufficient time to consider the
possibility of engaging in discussions regarding a pretrial resolution.

       Accordingly, the government requests the Court’s permission to file its response to the
pending Motion to Suppress, if such a response becomes necessary, at a future date. The
government further requests permission to submit another status report on or before September 1,
2022.
         Case 8:22-cr-00209-PJM Document 24 Filed 07/28/22 Page 2 of 2

      I am available at the Court’s convenience if further information is needed.

                                                   Very truly yours,

                                                   Erek L. Barron
                                                   United States Attorney


                                                   ____________________________________
                                                   Kathleen O. Gavin
                                                   Assistant United States Attorney

cc: Andrew Szekely, Esquire
    Meghan Michael, Esquire
